        Case 1:22-cv-02079-MMG Document 27 Filed 02/02/23 Page 1 of 28




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -X
                                                                             )
ABSOLUTE RESOLUTIONS INVESTMENTS,                                            ) Case No. 22-cv-2079-VM
LLC,                                                                         )
                                                                             )
                                         Plaintiff,                          )
                                                                             ) FIRST AMENDED COMPLAINT
                                                                             )
          vs.                                                                )
                                                                             )
                                                                             )
CITIBANK, N.A.,                                                              )
                                                                             )
                                         Defendant.                          )
                                                                             )
                                                                             )
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          Plaintiff Absolute Resolutions Investments, LLC (together with its affiliates, referred to

herein as “Absolute”), by and through its undersigned attorneys, for its First Amended Complaint

against defendant Citibank, N.A. (“Citi”), hereby alleges as follows:

                                  NATURE OF THE ACTION

       1.       This is an action for breach of contract and the implied covenant of good faith and

fair dealing arising out of Citi’s flagrant violations of the parties’ agreements, which caused

Absolute significant damages and completely undermined Absolute’s reasonable commercial

expectations.

       2.       Since October 2019, Absolute has paid Citi approximately $23 million for

portfolios of delinquent, charged off consumer credit card accounts under various agreements.

       3.       Absolute’s business is to acquire and manage charged-off debt from primary

creditors. Absolute acquires debt by purchasing portfolios presented by entities such as Citi after

being provided with due diligence files selected by Citi, which are supposed to accurately represent

the types of accounts to be included in the portfolios.



                                                  1
         Case 1:22-cv-02079-MMG Document 27 Filed 02/02/23 Page 2 of 28




        4.     Consumer debt portfolios are constantly in flux as individual accounts within

portfolios are paid off, accrue charges, or otherwise change. Thus, the due diligence files typically

show certain key characteristics of the debt portfolios Absolute is to purchase, rather than a

snapshot of the exact accounts to be transferred to Absolute in connection with the debt purchases.

Based upon those characteristics, using its proprietary modeling, Absolute is able to project a range

of expected outcomes to a reasonable degree of certainty.

        5.     In this case, to ensure that the portfolios Absolute purchased from Citi would be as

valuable as the accounts previewed in the due diligence files, Citi agreed that: (1) the contents of

portfolios received would be substantially similar to the contents of the previewed portfolios; and

(2) Citi would not apply the criteria used to select the accounts that would actually be transferred

in a manner that would adversely impact Absolute.

        6.     In 2019, following a change in management, Citi – wholly unbeknownst to

Absolute – suddenly began self-selecting accounts in a manner adverse to Absolute, withholding

accounts with more favorable characteristics and substantially degrading the quality of the

portfolios being transferred to Absolute.

        7.     As Absolute began to process, manage, and collect on debt in the new portfolios,

Absolute began to notice and question Citi about disparities between what was promised and what

was received. Rather than meaningfully respond to Absolute’s inquiries, Citi obfuscated, using the

COVID-19 pandemic as cover. Not only that, but in the spring of 2020, Citi demanded Absolute

sign a release absolving Citi of liability for any previous adverse account selection as a condition

for Absolute to remain on Citi’s list of approved debt purchasers. Reasoning in part that Citi would

cease its adverse selection now that it had been “caught,” Absolute executed the release in May

2020.




                                                 2
         Case 1:22-cv-02079-MMG Document 27 Filed 02/02/23 Page 3 of 28




        8.      But Citi did not stop. Instead, it continued transferring portfolios of substantially

degraded quality and value compared to what had been previewed to Absolute in due diligence,

and continued refusing to respond to Absolute’s inquiries into the matter.

        9.      By “cherry picking” accounts out of the transferred portfolios, Citi breached its

agreements with Absolute and wholly undermined the spirit of the parties’ bargain.

        10.     As a result of Citi’s repeated breaches and malfeasance, Absolute has suffered

millions of dollars in losses.

                                          THE PARTIES

        11.     Absolute Resolutions Investments, LLC is a limited liability company organized

under the laws of the State of Arizona with its principal place of business in Bloomington,

Minnesota.

        12.     Upon information and belief, Citibank, N.A. is a national banking association

organized under the laws of the United States with its principal place of business at 399 Park

Avenue, New York, New York 10043.

                                 JURISDICTION AND VENUE

        13.     This Court has personal jurisdiction over Defendant because it maintains its

principal office and transacts business in this District.

        14.     This Court has subject-matter jurisdiction over this action pursuant to 28 U.S.C. §

1332, because (i) this is an action between citizen of different States, and (ii) the matter and

controversy exceeds the sum or value of $75,000, exclusive of interests and costs, and is between

citizens of different states.

        15.     Venue lies in this district pursuant to 28 U.S.C. §§ 1391(b)(1) and 1391(b)(2).




                                                   3
        Case 1:22-cv-02079-MMG Document 27 Filed 02/02/23 Page 4 of 28




                                              FACTS

Citi’s Debt Sale Process

       16.     For approximately twenty years Absolute and its affiliates have been in the business

of acquiring and managing charged-off debt from primary creditors, including a broad range of

financial institutions. Absolute uses sophisticated proprietary analytics to evaluate debt portfolios

for purchase and to maximize the collectability of the portfolios it acquires.

       17.     Citi’s business includes branded and retail credit card products and services. In

addition to offering Citibank-branded cards, Citi also has an arm called “Citi Retail Services,”

through which it partners with retail brands—i.e., Costco, Macy’s, and Best Buy—to provide

private label and co-branded cards and services.

       18.     Citi maintains a list of approved outside buyers to which it markets certain

portfolios of delinquent consumer credit card accounts. Third-party buyers are not provided clear

and articulated grounds for obtaining approval or why their approval may be revoked, and the

process appears to be infected by favoritism and cronyism.

       19.     Citi sells off batches of delinquent and charged-off credit card accounts to qualified

third-party buyers or places them at a collection agency for Citi’s benefit.

       20.     At all relevant times herein, the process has worked as follows: upon information

and belief, Citi sells certain charged-off accounts in “bulk” and others—such as the accounts at

issue here and as detailed below—pursuant to a multi-month “flow” of sales with an initial due

diligence phase.

       21.     Upon information and belief, in either scenario, Citi first groups charged-off

accounts according to certain common characteristics, such as whether they consist of Citi-branded

or retail consumer (e.g., Costco) credit card accounts (or both), and other common features, such




                                                   4
         Case 1:22-cv-02079-MMG Document 27 Filed 02/02/23 Page 5 of 28




as the age of the debt (e.g., accounts labeled “Early Out” are recently charged-off accounts that

were recalled from pre-charge off collection agencies, including debt settlement account

servicers).

        22.    After bundling the charged-off accounts Citi initiates a bidding process. As part of

that process, prospective buyers are given a sample portfolio to assist them in pricing their bids.

The sample portfolio contains account-level information about the debt accounts to be included in

the first month of the sale flow, such as the amount owed by the debtor (i.e., the “charge-off

balance”), the charge-off date, last payment date, whether there has been a first payment default,

the state of residence of the account holder, and other important information about the account.

        23.    The sample portfolio provided by Citi is “masked,” meaning that most consumer-

specific information is redacted from the file.

        24.    For a buyer to perform due diligence on a portfolio, the buyer must utilize the

services of a third party identified and approved by Citi, which is provided the “unmasked”

portfolio information from Citi and assists the prospective buyer in scoring the portfolio to

determine how much to bid.

        25.    Accordingly, based on the portfolio information, a prospective buyer is able to see

key characteristics of the accounts that inform the buyer (based on its internal analysis) of the

expected performance of those accounts, which is used and relied upon by the buyer in determining

whether and how much to bid. Those key characteristics include (among other things) the

collectability score; the amount of outstanding debt on each account; the state in which each

account holder resides; and whether the account is eligible for assistance from a debt settlement

company.




                                                  5
        Case 1:22-cv-02079-MMG Document 27 Filed 02/02/23 Page 6 of 28




       26.     Along with the sample portfolio, upon information and belief, prospective buyers

are also sometimes provided a Seller Survey by Citi. The Seller Survey provides additional

portfolio-specific information, including the types of accounts to be contained in the sales flow

and other characteristics of the portfolio.

       27.     Upon information and belief, Citi typically covenants that the accounts sold will be

“substantially similar” to the accounts contained in the due diligence file “in all material scoring

characteristics.”1 In other words, the key account characteristics in the sales flow portfolios should

match, in all material respects, the key account characteristics in the sample portfolio that is

presented to bidders such as Absolute to solicit their bids.

       28.     Even modest changes in the characteristics of the debt can affect the price Absolute

is willing to pay for the portfolios in the first instance, and the amount Absolute ultimately is able

to recover on the debt after purchase. Accordingly, Absolute employs carefully refined and

proprietary analytics to determine, based on the aggregate characteristics of the due diligence file,

how much it will pay for each set of accounts released in the subsequent monthly sales flow.

       29.     After the diligence period Citi opens bidding to prospective buyers. The bidding is

supposed to be “blind”—i.e., prospective buyers are not supposed to be aware of each other’s

identities or other key bidding information (such as bid amounts)—and the portfolio is supposed

to be awarded to the highest qualified bidder.

       30.     Through this process, prospective buyers are bidding on a sale offering consisting

of a “forward flow” (or sales flow) of accounts to be released and sold over a period of consecutive

months, as delinquent accounts become newly charged off. This procedure relieves Citi of having



       1 In this case, Citi made that covenant in Master       Agreements between Absolute and
Citibank, which are described herein.



                                                  6
        Case 1:22-cv-02079-MMG Document 27 Filed 02/02/23 Page 7 of 28




to initiate a new auction each month. Buyers such as Absolute bid on a multi-month flow of

accounts, in which each monthly batch received thereunder should consist of accounts that (i) have

reached at least 180 days of delinquent status during the preceding month; and (ii) bear

substantially the same material characteristics as those reflected in the sample portfolio provided

during the due diligence period.

       31.     Citi reserves the right to remove from the forward flow any accounts that are legally

ineligible for sale, such as where the account holder has died or declared bankruptcy.

Absolute Re-Qualifies as a Bank Customer and Steven Dasch Becomes Head of Recoveries

       32.     Absolute purchased its first portfolio directly from Citibank in about 2006 and was

a consistent buyer of credit card portfolios from Citibank from 2011 through 2015.

       33.     In 2016, Absolute’s status as an approved buyer was revoked by Citi by the Head

of Recoveries at the time, Michael Taulbee, for reasons that were never fully explained.

       34.     Upon information and belief, Taulbee’s employment with Citi was terminated in

late 2018 or early 2019. Shortly after Taulbee’s termination, Absolute was invited to apply for re-

approval.

       35.     Absolute went through the approval process and was requalified in July 2019.

       36.     Upon information and belief, in or about October of 2019, Steven Dasch was Head

of Operations and his role was expanded to include control over Citi’s debt sales process—the role

which Taulbee previously had held (with another individual holding that role in the interim).

       37.     Upon assuming his new role, upon information and belief, Dasch was given

supervisory authority over: the decision whether to place accounts with outside bidders versus

agencies and law firms (and, in the latter instance, the specific agencies and law firm recipients);

the procedures governing outside bidding (including whether to sell portfolios in quarterly




                                                 7
         Case 1:22-cv-02079-MMG Document 27 Filed 02/02/23 Page 8 of 28




increments or pursuant to a multi-month sales flow); and the processes by which accounts were

removed from portfolios prior to sale.

         38.     Importantly, Citi had not always used a quarterly (3-month) sales flow structure for

its charged-off debt sales. Before Dasch took over from Taulbee, Citi conducted its quarterly sales

as one-time bulk offerings. It was Dasch who switched Citi over to the flow structure, which gave

Citi the opportunity to start cherry-picking accounts to hold back in connection with each sales

flow.

         39.     Upon information and belief, Messrs. Taulbee and Dasch were and remain close

acquaintances.

         40.     Also upon information and belief, while Dasch previously had been unknown to

Absolute, he had close relationships with other qualified buyers. Among other examples, Taulbee’s

wife works at Cavalry Portfolio Services (“Cavalry”) and Taulbee works (or worked) at United

Holdings Group (“UHG”). Upon information and belief, Cavalry and UHG are two of the most

frequent Citi-approved buyers of Citi’s consumer debt portfolios.

         41.     Upon information and belief, Dasch was terminated from Citi after this action was

filed.

         42.     Upon information and belief, Citi’s internal compliance processes and controls

were wholly insufficient to prevent employees in the Operations group—including Dasch—from

culling more favorable accounts from forward-flow batches before those batches were transferred

to third-party buyers, or from re-routing more favorable accounts to preferred buyers, law firms,

or collection agencies (including agencies servicing debt settlement accounts).




                                                  8
        Case 1:22-cv-02079-MMG Document 27 Filed 02/02/23 Page 9 of 28




Defendants And Absolute Enter Into Agreements To Purchase and Sell Debt Accounts

       43.      After Absolute’s re-approval in July of 2019, Citi and Absolute entered into a

Master Purchase and Sale Agreement dated July 25, 2019 (the “2019 Master Agreement”).

Subsequently, the parties executed a similar Master Purchase and Sale Agreement dated March 9,

2020 (the “2020 Master Agreement” and together with the 2019 Master Agreement, the “Master

Agreements”).

       44.      The two Master Agreements contain nearly identical material terms and conditions,

including those terms and conditions under which Citi would sell forward-flow accounts to

Absolute. The Master Agreements each contemplate that Citi would “sell, assign and transfer to

[Absolute],” and Absolute would agree “to purchase from Citi on the Closing Date all right, title

and interest of Bank in and to the Accounts as specified in an Addendum.” Citi and Absolute

executed an addendum in connection with each portfolio sale made pursuant to the Master

Agreements (see infra).

       45.      Section 3 of the Master Agreements contains provisions central to this dispute.

Section 3 is preceded by the heading “REPRESENTATIONS AND WARRANTIES OF THE

BANK,” but the Agreements provide elsewhere (in Section 12.11) that “[h]eadings are for

reference only, and will not affect the interpretation or meaning of any provision of this

Agreement.”

       46.      The heading of Section 3 is not in fact accurate, because the provisions of Section

3 are not limited to representations and warranties. Section 3 also includes forward-looking

covenants, as well as a section concerning available remedies in the event that Citi breaches certain

provisions of Article 3.




                                                 9
        Case 1:22-cv-02079-MMG Document 27 Filed 02/02/23 Page 10 of 28




       47.     The representations and warranties of Article 3 are contained in subsections 3.3.1

(“Representations Concerning Accounts”) and 3.3.2 (“Additional Representations and Warranties

of Bank”). In relevant part, Citi represented in subsection 3.3.1(i) that “the information provided

by [Citi] on the due diligence file is substantially similar to the final electronic file provided to

Buyer in connection with the closing . . . .” Subsection 3.3.2 clarifies that Citi “makes no other

representations or warranties, express or implied, with respect to any of the Accounts other

than as specifically set forth in this Section 3.3” (emphasis added).

       48.     Section 3.4 establishes Absolute’s “sole remedy against the Bank . . . for a breach

of any of the representations listed in Article 3.” Section 3.4(a), given the heading “Time Period,”

provides that within 180 days of a sale closing, and upon timely notice, Citi may elect between (i)

curing the breach and (ii) repurchasing the affected accounts. This 180-day period is a standard

industry clause commonly known as a “put-back period.” The purpose of the “put-back period” is

to give purchasers like Absolute a window of time to identify defective accounts that should not

have been included in the sale and then ask the seller to repurchase those accounts. This is a logical

remedy for breach of the representations in Sections 3.3.1 and 3.3.2. For instance, if Citi transferred

accounts that had been paid in full or discharged through bankruptcy, or for which the obligor was

deceased (see §§ 3.3.1(a), (e), and (f)), Absolute would simply notify Citi of the defects in those

accounts and Citi would repurchase the accounts.

       49.     Section 3.4 also provides that notice must be made “in writing or in electronic

format and accompanied by the documentation required under Section 3.4(b).” Section 3.4(b), in

turn, requires a detailed, account-level list of “each Account [ ] which [Absolute] seeks to have

[Citi] repurchase.”




                                                  10
        Case 1:22-cv-02079-MMG Document 27 Filed 02/02/23 Page 11 of 28




       50.     Section 3.5, which follows the “remedies” section in 3.4, does not contain a

representation or a warranty or a remedy restriction. Rather, in Section 3.5, Citi made a covenant

regarding its future performance:

       No Adverse Selection. Except as disclosed in the final electronic file, [Citi] will not employ
       any selection criteria, materially adverse to the interest of Buyer, in selecting the Accounts
       sold to the Buyer hereunder.

       51.     Beyond Section 3, Section 2.2 of the Master Agreements sets forth a “Pre-Closing

Adjustment” process by which the ultimate purchase price for accounts transferred thereunder

would be adjusted to reflect two possible situations: (i) a change in the balance of a particular

account as compared to what was reflected in the due diligence file; or (ii) retention by Citi of any

accounts which either failed to comply with the representations made in Section 3.3, or as to which

“[Citi] determines that there is a pending or threatened suit, arbitration, bankruptcy proceeding or

other legal proceeding or investigation relating to” such account. Per the Master Agreements, “The

Purchase Price will be adjusted by the amount associated with any balance or Account described

above. [Citi] will notify the Buyer of the adjusted Purchase Price prior to the Closing Date.”

       52.     Section 12.1 provides that the interpretation and the rights, duties and obligations

of the parties are controlled by South Dakota law.

Problems Arise With Sales Flow Debt Portfolios

       53.     In October of 2019 Absolute participated in a bidding process for a four-month Citi

Brands and Costco “Early Out” forward flow pursuant to the 2019 Master Agreement. In

connection with that process Absolute received from Citi a due diligence file containing a sampling

of the accounts to be offered in the forward flow. Citi also provided Absolute and other bidders

with a “Seller Survey” as part of the bid package.




                                                 11
        Case 1:22-cv-02079-MMG Document 27 Filed 02/02/23 Page 12 of 28




       54.     The “Seller Survey” purported to contain additional information concerning the

accounts subject to sale, such as the total number of accounts being offered for purchase (19,597)

and certain details concerning the pre-charge-off collection activity on the accounts.

       55.     The “Seller Survey” contained the following question and answer under the heading

“General Information”:

       Will a population of accounts be retained by Citi?

       Yes, up to 10% of the sale eligible accounts will likely be retained by Citi from each month’s
       delivery, but reserve the right to withhold up to 20%. These accounts are randomly selected
       from the sale eligible pool.

       56.     Upon information and belief, the supposedly “random” removal of accounts by Citi

was designed to act as a “control” process whereby Citi could compare the performance of the

accounts it retained to the value it realized from a sale. By randomly selecting a small group of

accounts to hold back from the sale file and placing those accounts with a collection agency to

collect on Citi’s behalf, Citi could evaluate whether it made sense to continue to sell certain species

of accounts to third-party buyers such as Absolute versus placing them with outside collection

agencies, law firms, or debt settlement servicing agencies.

       57.     However, this “control” process also provided Citi an opportunity and pretext to

“cherry pick” higher-quality accounts, despite its statement that the selection and removal process

would be randomized.

       58.     Citi thereafter advised Absolute that Absolute was the successful bidder for the

four-month forward flow beginning in October 2019. Citi issued an Addendum covering that

forward flow, which was entitled “October 2019 Brands and Costco Early Out 120 Day Flow

Accounts.”




                                                  12
        Case 1:22-cv-02079-MMG Document 27 Filed 02/02/23 Page 13 of 28




       59.     The Addendum contained an asset schedule and the specific purchase price and

confirmed that the forward flow would consist of four consecutive months of account sales

beginning on or before October 30, 2019.

       60.     The Addendum contained the following language under the heading “Special

Provisions”: “Each data file delivered by [Citi] to the Buyer during the term of this Agreement

shall be substantially similar to the data file on which Buyer based its bid in all material scoring

characteristics.”

       61.     It is well known and commercially expected in Absolute’s industry—and was

known to both Absolute and Citi during the relevant time period—that “material scoring

characteristics” include, among others, the amount of outstanding debt on each account; the state

in which each account-holder resides; and whether the account is currently enrolled with a debt

settlement company.

       62.     Thereafter, Citi sold to Absolute the four-month forward flow (“FF1”) consisting

of four consecutive monthly batches with the following transfer dates:

                (1)    October 30, 2019 (Purchase Price $2,805,102)

                (2)    November 26, 2019 (Purchase Price $3,466,460)

                (3)    December 30, 2019 (Purchase Price $2,728,259)

                (4)    January 24, 2020 (Purchase Price $3,008,372)

       63.     Each monthly portfolio of accounts received by Absolute turned out to be

different—and worse—than what Absolute had bid upon, to a statistically significant degree.

       64.     For example, Citi provided information to Absolute for a total of 4,468 accounts

(with balances of nearly $25 million in total), in order to evaluate the potential purchase of the

October 2019 portfolio of accounts. Of these accounts, 2,367 (53%) were identified by Absolute




                                                13
        Case 1:22-cv-02079-MMG Document 27 Filed 02/02/23 Page 14 of 28




as higher-value accounts, a category which includes, for instance, accounts subject to creditor-

advantageous collection states and accounts qualifying for debt settlement company assistance.

        65.     However, the final file provided to Absolute was missing 649 of the 4468 accounts

previewed during due diligence (14.5%). Of the 649 removed accounts, 64% (414) were high-

value accounts, while only 51% (1,953 of 3,819) of the remaining accounts were high-value

accounts. As a result, the portfolio ultimately sold to Absolute in October 2019 contained a

materially lower percentage of higher-value accounts and a materially higher percentage of lower-

value accounts than what had been previewed in due diligence.

        66.     Statistical analysis reveals that the higher value accounts were not simply removed

at “random.” Had that been the case, approximately 53% of the removed accounts would have

been high value accounts, as opposed to the 64% actually removed. In particular, standard

statistical analysis indicates that had the accounts been removed at random, only rarely would more

than 366 high value accounts (or less than 321) have been removed. The 414 actually removed

falls well outside this range.

        67.     Though disappointed in the profile of the October 2019 portfolio, Absolute hoped

and expected that the remaining months of the FF1 flow would profile as promised. Instead,

however, the November 2019, December 2019, and January 2020 portfolios also were worse than

the due diligence file to a statistically significant degree.

        68.     For the first month of the sales flow (October 2019) Citi provided information on

the number and types of accounts removed prior to sale. However, Citi suddenly stopped providing

this information, making it more difficult for Absolute to determine the types of accounts Citi was

removing before transferring the sales flow accounts each month.




                                                   14
        Case 1:22-cv-02079-MMG Document 27 Filed 02/02/23 Page 15 of 28




        69.     As depicted in the following chart, Absolute now expects to recover millions less

than it spent to acquire the FF1 portfolios, as opposed to the multiple it typically realizes:




        70.     Subsequently, Citi sold to Absolute two additional forward flows under the 2020

Master Agreement (“FF2” and “FF3”).

        71.     FF2, the earlier of these two 2020 forward flows, consisted of Citi Brands and

Costco “Early Out” accounts with the following transfer dates and purchase prices, each governed

by the terms of the 2020 Master Agreement as well as an applicable Addendum:

                (1)     March 30, 2020 (Purchase Price $2,890,541)

                (2)     May 29, 2020 (Purchase Price $3,402,229)

        72.     Absolute would typically receive data on the actual portfolio a few days before the

date of the portfolio transfer.

        73.     Because of concerns with the earlier portfolios, Absolute immediately analyzed the

March flow data upon receipt.




                                                  15
       Case 1:22-cv-02079-MMG Document 27 Filed 02/02/23 Page 16 of 28




       74.       On March 30, 2020, Absolute wrote to several individuals at Citi and requested a

phone call to discuss concerns with the portfolio that had been received three days earlier.

       75.       Later that day, Absolute wrote to Citi:

       Attached is a list of the accounts we believe were removed in a
       disproportionate rate to our high scoring accounts.

       Additionally, our top two legal buckets were removed at twice the rate of
       the bottom two buckets. These are summary metrics based on the nature of
       our processes, but would include higher balances (over $12k), this was 368
       accounts.

       This will have a very big impact on our returns on this file to the tune of
       $1.3M+ (conservative estimate based on historical data) and would like to
       know why these accounts were removed.

       76.       Citi did not provide any written response.

       77.       Statistical analysis has since demonstrated that for the FF2 first month’s file (March

2020), Citi removed 909 of the 5574 accounts previewed during due diligence (16.3%). Of those

removed accounts, 68% of them were higher-value accounts, including 16% of the accounts

eligible for both debt settlement company assistance and legal enforcement (“DSC Overlap”) –

historically the highest-liquidating accounts. As a result, the portfolio sold to Absolute in March

2020 contained a materially lower percentage of higher-value accounts and a materially higher

percentage of lower-value accounts than what had been previewed in due diligence.

       78.       In April 2020, after providing initial data on the next sales flow portfolio, Citi

abruptly advised Absolute that all flows were being suspended purportedly due to the COVID-19

pandemic, and refused to sell Absolute a file for that month. However, other buyers reported to

Absolute at the time that their closings were proceeding as planned. Upon information and belief,

this was an arbitrary decision by Citi to penalize Absolute for inquiring into the portfolio

discrepancies.

       79.       On April 27, 2020 Absolute sent Citi the following email:


                                                  16
       Case 1:22-cv-02079-MMG Document 27 Filed 02/02/23 Page 17 of 28




               We analyzed the portfolio you sent over late Thursday last week and
               we have several of the same concerns that we need to address. Does
               9AM PST work for you? Why did you remove the 8 states you said
               you were going to include after we talked? This file is not anywhere
               near characteristic to the initial bid file and why are you taking out
               8 states when you are placing them to contingency and DSC
               agencies? You guys just keep burying yourselves with breach after
               breach. . . . I had a very clear conversation with you last week about
               the portfolio being representative of the initial due diligence file. I
               know exactly what is going on internally at Citibank since the new
               regime has taken over (Steve Dasch, etc). . . . Per the contract you
               are obligated to furnish in a forward flow a materially similar
               file to the due diligence file. Instead, last minute you delivered us
               the actual sale file which was significantly degraded from the initial
               due diligence file that we submitted the bid price of []% for a 3
               month forward flow. The group you work for at Citibank cherry
               picked the “high value” accounts between the bid date and [ ] a
               couple days before funding which was an unusually high number of
               days between the due diligence period and the actual funding date. .
               ..
               This deliberate and highly unethical practice is something I have
               never seen in my 20+ years in this industry with a highly valued and
               reputable bank in Citibank. . . .

       80.     Citi again did not respond in writing, instead proposing a call to discuss. On that

call Citi would not address the discrepancies between the due diligence file and what was actually

transferred to Absolute; rather, Citi simply informed Absolute that Citi would not be transferring

any accounts to Absolute for April 2020.

       81.     The problems continued when sales resumed the following month. Among other

issues, the May 2020 file included accounts that had been charged off in January, February, March,

and April, despite being promoted as a flow of “early out” accounts.

       82.     Rather than substantively respond to Absolute’s repeated inquiries, in May 2020

Citi insisted, for the very first time, that Absolute execute a release in order to proceed with the

May 2020 closing. Citi drafted the release expressly to cover “all damages, costs, and liabilities




                                                 17
           Case 1:22-cv-02079-MMG Document 27 Filed 02/02/23 Page 18 of 28




relating to claims that [Citi] violated Section 3.5 of the Addendum.”2 Citi implied that, absent such

a release, Absolute would be dropped as an approved debt buyer and prohibited from purchasing

debt portfolios from Citi in the future. Left with little choice, Absolute executed the requested

release.

           83.    Absolute construed Citi’s demand for a release as a tacit admission and hoped that,

having been “caught,” Citi would resolve the issue going forward. Nevertheless, to ensure its

position was perfectly clear, Absolute sent to Citi a letter dated June 16, 2020 to reiterate

Absolute’s concerns with the monthly sales flows, including what appeared to be the removal of

higher-value accounts. Among other things, Absolute used the March 2020 account sale as an

example to demonstrate that Citi had been engaging in improper “holdbacks” of accounts:

           . . . not only was the “Holdback” considerably larger and not consistent with [Citi’s]
           policy and procedure to exclusively hold back FEMA identified accounts, accounts
           where media couldn’t be adequately supplied and other accounts that could present
           regulatory risk for the bank from the prior file (18% vs. 10%). . . . it became quite
           evident and undeniable that the Holdback was adversely selected. Approximately
           750 of the 900+ accounts included in the Holdback were high value accounts either
           from historically valuable states that were legal eligible or accounts where a
           consumer was represented by a debt settlement company. It is statistically
           impossible to have that many high-value accounts removed at random . . .

           84.    Then, in the summer of 2020, Absolute bid on another forward flow of accounts

(FF3) consisting of Citi Brands and Costco “Fresh” accounts. The label “fresh” was significant to

Absolute, as “fresh” is an industry term for accounts that have just become charged off and have

not yet been “worked” by outside agencies—in other words, the highest-performing accounts.

Absolute bid on the “fresh” portfolio (rather than an “early out” portfolio) with the hope and

expectation that the fresh portfolio sale batches would not be infected by the same problems

demonstrated in the “early out” portfolios in the previous months.


           2 The March 25, 2020 Addendum does not contain a Section 3.5.




                                                    18
       Case 1:22-cv-02079-MMG Document 27 Filed 02/02/23 Page 19 of 28




       85.     Absolute purchased the FF3 accounts on the following transfer dates and at the

following prices, each governed by the terms of the 2020 Master Agreement as well as an

applicable Addendum:

               1.      September 25, 2020 (Purchase Price $1,569,387)

               2.      October 21, 2020 (Purchase Price $1,872,743)

               3.      November 23, 2020 (Purchase Price $1,625,974)

       86.     To Absolute’s dismay, Citi had not been deterred from removing favorable

accounts from the sales flow. The FF3 was characterized again by removals that were highly

suspect and to detrimental to Absolute. For the FF3 first month’s file (September 2020), Citi had

removed 387 of the 2,309 accounts previewed during due diligence (16.7%). Of those removed

accounts, once again nearly three quarters of them were higher-value accounts, including 17% of

the DSC Overlap accounts that had been previewed. As a result, the portfolio ultimately sold to

Absolute in September 2020 contained a materially lower percentage of higher-value accounts and

a materially higher percentage of lower-value accounts than what had been previewed in due

diligence.

       87.     Moreover, despite being labeled a “Fresh” account flow—an industry label used to

describe accounts that have just become charged off and have not been “worked” by outside

collections departments or agencies—the composition of each month’s account pool and the

unusually poor liquidation of those pools to date suggest otherwise.

       88.     Finally, for every month of FF3, the accounts sold to Absolute were worse, to a

statistically significant degree, than similarly-profiling portfolios sold to Absolute under Dasch’s

predecessor.




                                                19
        Case 1:22-cv-02079-MMG Document 27 Filed 02/02/23 Page 20 of 28




        89.     In particular, the average charge-off balance of accounts sold to Absolute, the

percentage of DSC Overlap accounts, and the percentage of high-value accounts overall were all

lower, to a statistically significant degree, than they had been prior to Dasch’s role expanding to

include debt sales. Meanwhile, the percentage of accounts qualifying for agency collection work

(these are significantly lower-value accounts) were higher after Dasch’s promotion, also to a

statistically significant degree.

        90.     Absolute alerted Citi of these issues by phone in November, and then followed up

by email:

                I am writing to follow up on our conversation from last week
                regarding the November installment of the Costco Fresh – 180 Day
                Flow. As we discussed, [Absolute] identified a number of
                irregularities in this month’s file, including a material decrease in
                the number of accounts that qualified for legal and\or are high value,
                a significant increase in the number of accounts for consumers from
                California, and a sizeable number of accounts included in the
                portfolio that had a charge off date more than 60 days prior to
                Closing, which we clearly do not view as “fresh” accounts. We
                attempted to put both parties on the same page with a definition of a
                “fresh” account in the addendum for this flow, but Citibank rejected
                our proposal that would have addressed this exact situation. There
                also remains an open question about how the tranche of older
                accounts are so heavily concentrated in CA, OR, and LA. Were
                these previously FEMA accounts?

                All of these irregularities taken together resulted in a reduction of
                the value of the portfolio versus the portfolio on which we based our
                bid to enter into the flow and the prior two monthly installments of
                the flow. As a result of these deviations, we requested a small price
                reduction to compensate us for the diminished value of the portfolio.
                Our request was denied by you on the basis that there was not
                enough time to entertain a price reduction given the number of
                internal Citibank mechanisms involved in such a request even
                though there was a material number of days left in the November
                business month. So, in good faith and to show the value that we
                place in our relationship with Citibank, we funded the full amount
                of the purchase of the portfolio as requested by Citibank.




                                                 20
        Case 1:22-cv-02079-MMG Document 27 Filed 02/02/23 Page 21 of 28




        91.     The parties had several calls to discuss these matters during this time period, during

which Absolute repeatedly requested information from Citi concerning the removal of accounts

from the monthly sale files and repeatedly requested that the statement in the Seller Surveys that

the removed accounts “are randomly selected from the sale eligible pool” be included as a formal

representation under the Master Services Agreement or applicable Addenda. Absolute also

demanded that Citi explain its use of the term “fresh,” given the apparent mislabeling that had

occurred with respect to FF3.

        92.     Citi refused to provide the information requested by Absolute and further refused

to incorporate its Seller Survey statements into its agreements with Absolute.

Citi Terminates Absolute For Asserting Its Rights

        93.     In light of Citi’s continued manipulation of the sale portfolios, and its refusals to

provide the information Absolute repeatedly had requested, in December 2020 Absolute advised

Citi via email that it would pause its funding of additional monthly flows until it could satisfy itself

as to the bona fides of Citi’s sales and selection process. In a December 30, 2020 email, Absolute

conveyed (inter alia):

        . . . If we are paying [ ] and not receiving ALL FRESH charged off accounts (+/-
        5%) from the month prior to purchase, then what you are representing isn’t a
        FRESH portfolio. . . . A typical FRESH file should contain 95%+ in accounts that
        charged off late in the month prior to purchase but yet the FRESH files we are
        purchasing ONLY contain 55% of charged off accounts from the month prior. . . .

        . . . Furthermore, in this current forward flow, CA is averaging between 35-40% in
        [face value] in each portfolio which happens to be one state that produces low legal
        and collection liquidation rates, about ¼ of what an A state liquidates at. . . .

        . . . [Absolute] is going to take you up on your previous offer that allows us to back
        out of any [forward flow] without 60 days written notice in the contract without
        any harm to our approved buyer status . . . if we felt the files were materially adverse
        and[/]or misrepresented in which in this case both infractions have occurred. . . .




                                                  21
        Case 1:22-cv-02079-MMG Document 27 Filed 02/02/23 Page 22 of 28




       94.     On January 15, 2021, in the midst of ongoing discussions between the parties and

their respective counsel about these matters, Citi abruptly issued a termination letter to Absolute,

accusing Absolute of being in default under the 2020 Master Agreement due to Absolute’s

suspension of funding; purporting to terminate the 2020 Master Agreement; and revoking

Absolute’s status as an approved debt buyer. That was exactly the outcome Absolute had sought

to avoid for nearly a year, notifying Citi of its breaches and continuing in good faith to comply

with its bids and to purchase the sales flows at the agreed-upon prices. Citi, on the other hand,

blatantly defied its covenant not to employ “materially adverse” selection criteria, and then

retaliated (and further harmed) Absolute for finally asserting its rights.

The Selection and Removal of Accounts Sold to Absolute Was Not Random

       95.     A statistical analysis comparing the accounts sold to Absolute under FF1, FF2 and

FF3 as compared to the due diligence files for each flow, demonstrates that the variances were

statistically significant and could not have been random.

       96.     As explained above, for FF1, FF2, and FF3, a materially higher percentage of

removed accounts were classifiable as DSC Overlap, as compared to the accounts eventually

delivered to Absolute. For FF2 and FF3, this difference was statistically significant, meaning the

removal of these higher-value accounts could not statistically be explained by a random selection

process. Instead, the selection and removal of DSC Overlap accounts was systematically

detrimental to Absolute and appears to have been intentional rather than random.

       97.     In addition, for FF1, FF2, and FF3, the removed accounts had higher overall

balances and contained a higher percentage of accounts with balances greater than $10,000 (and

were thus more attractive accounts), as compared to the accounts ultimately delivered to Absolute.

Once again, for both FF2 and FF3, these differences were statistically significant, meaning this




                                                 22
        Case 1:22-cv-02079-MMG Document 27 Filed 02/02/23 Page 23 of 28




disproportionate removal of these higher-balance accounts could not statistically be explained by

a random selection process. Instead, the selection and removal of accounts was systematically

detrimental to Absolute and appears to have been intentional rather than random.

Citi’s Well-Documented Compliance Failures

       98.       Citi’s troubling history of with internal control issues and lax compliance

environment is not unique to Absolute and has in fact been well-documented.

       99.       For instance, in October 2020 the Office of the Comptroller of Currency (“OCC”)

fined Citi $400 million and issued a consented-to Cease & Desist Order (“C&D Order”) upon

finding that “[f]or several years, [Citi] has failed to implement and maintain an enterprise-wide

risk management and compliance risk management program, internal controls, or a data

governance program commensurate with [Citi’s] size, complexity, and risk profile.”3

       100.      In particular, OCC made findings as to the “failure of [Citi’s] enterprise-wide risk

management policies, standards, and frameworks to adequately identify, measure, monitor, and

control risks” and the “failure of compensation and performance management programs to

incentivize effective risk management.” The OCC’s findings also “identified unsafe or unsound

practices with respect to [Citi’s] internal controls, including, among other things, an absence of

clearly defined roles and responsibilities and noncompliance with multiple laws and regulations.”4

       101.      As a result of the C&D Order, Citi was directed to implement “broad and

comprehensive corrective actions” to improve its risk management, data governance, and internal

controls.5


       3 See https://www.occ.gov/static/enforcement-actions/ea2020-056.pdf.


       4
           See id.
       5 See https://www.occ.gov/news-issuances/news-releases/2020/nr-occ-2020-132.html.




                                                  23
        Case 1:22-cv-02079-MMG Document 27 Filed 02/02/23 Page 24 of 28




       102.     Upon information and belief, Citi has terminated Dasch since this litigation was

filed, even while continuing to assert to Absolute that there was no misconduct on Dasch’s watch.

Absolute’s Significant Damages

       103.     Because of its proprietary recovery methodology and procedures, Absolute is able

to predict, within a range of reasonableness, the expected performance of a portfolio it purchases,

and it uses that projection to make its purchasing decisions. Absolute usually realizes a multiple

of its purchase price for the consumer debt accounts it acquires.

       104.     Here, however, as a result of Citi’s material degradation of the files in question

prior to transferring them, Absolute instead expects to lose money on the culled batches of accounts

it purchased from Citi.

       105.     Specifically, based on current estimates, Absolute expects to not recover its cost

basis and to lose somewhere between 10-25% of its investment, rather than achieving a high

multiple rate-of-return. These losses are solely attributable to the degraded quality of the accounts

Absolute purchased from Citi.

       106.     In addition, Absolute’s financial arrangement with its lenders is dependent, in part,

upon its realization rate. This is standard and known in the industry. As a result of purchasing

accounts from Citi that were worse than what was promised, Absolute’s loan and interest expenses

will be significantly higher than they would otherwise have been due to lower cash velocities and

higher collection costs. Absolute also lost out on other investment opportunities and suffered

reputational harm as a result of its improper removal from Citi’s qualified debt seller list.

                                  FIRST CAUSE OF ACTION
                                      Breach of Contract

       107.     Absolute repeats and realleges all of the foregoing paragraphs as though fully set

forth herein.



                                                 24
        Case 1:22-cv-02079-MMG Document 27 Filed 02/02/23 Page 25 of 28




        108.      Absolute and Citi are parties to binding and written agreements, including the

Master Agreements and the Addenda to the Master Agreements.

        109.      Absolute has performed all of its obligations under the Master Agreements and

related Addenda by purchasing debt portfolios from Citi at the times and at the prices agreed upon

by the parties.

        110.      Citi, on the other hand, has materially breached its contractual obligations to

Absolute. Specifically, Citi has violated the covenant in Section 3.5 of the 2020 Master Agreement

by repeatedly employing selection criteria “materially adverse” to Absolute.

        111.      Section 3.5 of the 2020 Master Agreement is not subject to the limited remedies

and/or the notice provision set forth in Section 3.4, because Section 3.5 is a forward-looking

covenant; not a representation covered by Section 3.4. Citi did not make any “representations or

warranties, express or implied, with respect to any of the Accounts other than as specifically set

forth in [ ] Section 3.3” (emphasis added).

        112.      Moreover, even if Section 3.5 were subject to the notice provision in Section 3.4,

that provision is void under South Dakota law because it purports to shorten the applicable statute

of limitations. In South Dakota, “[e]very provision in a contract restricting a party from enforcing

his rights under it by usual legal proceedings in ordinary tribunals, or limiting his time to do so, is

void.” SDCL § 53–9–6 (arbitration agreements and surety contracts are elsewhere carved out).

South Dakota, unlike many other states, does not recognize a distinction between notice provisions

and waiver provisions and finds each void if it in practice prevents a party from seeking to enforce

its rights within the applicable statute of limitations. Midcontinent Communications v MCI

Communications Services, Inc., 4:16-CV-04070-KES, 2018 WL 1370257, at *6 [DSD Mar. 16,

2018] (rejecting the argument that 180-notice written provision was merely a condition precedent




                                                  25
        Case 1:22-cv-02079-MMG Document 27 Filed 02/02/23 Page 26 of 28




and finding it void under South Dakota law). South Dakota’s legal code further provides that

“[e]very contract in which amount of damage or compensation for breach of an obligation is

determined in anticipation thereof is void.” SDCL § 53-9-5.

        113.    Finally, even if the notice provision was not void, Absolute provided timely and

sufficient notice under Section 3.4(a), which specifically permits notice to be provided in

electronic format (i.e., emails).

        114.    The Bank has been damaged by the foregoing breaches in an amount to be proven

at trial, including punitive damages under South Dakota law because the breaches arise from a

continued pattern of deceit.

                                SECOND CAUSE OF ACTION
                    Breach of the Covenant of Good Faith and Fair Dealing

        115.    Absolute repeats and realleges all of the foregoing paragraphs as though fully set

forth herein.

        116.    Absolute and Citi are parties to binding and written agreements, including the

Master Agreements and the Addenda to the Master Agreements.

        117.    Every contract imposes upon each party a duty of good faith and fair dealing in its

performance and its enforcement, which means that neither party will commit any act that has the

effect of destroying or injuring the right of the other party to receive the benefits of the contract.

        118.    Absolute assesses and bids on due diligence files using proprietary analytics that

reliably indicate how much Absolute can expect to recover on a purchased portfolio (i.e., the

benefits of Absolute’s bargain) absent outside interference. In this case, Absolute deployed those

same proprietary analytics on the due diligence files provided by Citi and therefore was able to

determine how much it would recover if the portfolios it received from Citi shared the same

material characteristics as the due diligence files.



                                                  26
        Case 1:22-cv-02079-MMG Document 27 Filed 02/02/23 Page 27 of 28




       119.    While Citi had some discretion to remove accounts from certain states because of

COVID-19, Citi did not have the right to do so in an arbitrary and non-random way.

       120.    For example, Citi removed New Mexico from the sale file for December 2020 but

did not remove South Dakota or Minnesota despite higher COVID-19 numbers in those states at

that same time.

       121.    Citi used COVID-19 as a pretext to remove pockets of more profitable loans from

the portfolio. And inasmuch as Citi was allowed to delist states, it was not allowed to do so in a

manner to deprive Absolute of the benefit of its bargain.

       122.    Further, inasmuch as Citi had the discretion to suspend the sale of portfolios it did

not have the discretion to do so in an arbitrary and non-random way or in a manner to penalize

Absolute. Absolute expected the promised forward flows monthly. By suspending the sales to

Absolute but not to others, Citi breached the implied covenant of good faith and fair dealing.

       123.    Finally, Citi had an implied duty of good faith to provide information concerning

discrepancies in the portfolios upon reasonable request. Citi repeatedly breached this duty by

refusing to provide information concerning why accounts were removed, despite Absolute’s

repeated inquiries.

       124.    Citi’s conduct has deprived Absolute the benefit of its bargain, injuring Absolute

in an amount to be determined at trial.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Absolute Resolutions Investments, LLC requests that this Court

grant the following relief:

       A) Judgment against Defendants on Counts I and II herein, awarding Plaintiff damages in
          an amount to be proven at trial, plus interest accrued and continuing to accrue thereon;

       B) Judgment against Defendants ordering disgorgement of their ill-gotten gains in an



                                                27
         Case 1:22-cv-02079-MMG Document 27 Filed 02/02/23 Page 28 of 28




            amount to be determined at trial, including any compensation or payment received by
            Defendants from Plaintiffs, plus interest accrued and continuing to accrue thereon;

         C) Punitive damages in a sum to be determined at trial;

         D) Pre- and post-judgment interest, fees, and costs; and

         E) Such other and further relief as the Court may deem just and proper.

Dated:      February 2, 2023                          HARRIS ST. LAURENT & WECHSLER LLP
            New York, New York

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                                                 28
